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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 U.S. EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,                       Civil Action No.:
                                               8:23-cv-02067-SDM-NHA
          Plaintiff,
 v.
 KANES FURNITURE, LLC
 D/B/A KANE’S FURNITURE,
       Defendant.
 ___________________________________/

                                CONSENT DECREE

          This Consent Decree (“Decree”) is made and entered into by and

 between the United States Equal Employment Opportunity Commission (the

 “Commission” or the “EEOC”), and Kanes Furniture, LLC d/b/a Kane’s

 Furniture (“Kane’s” or “Defendant”) (hereinafter the EEOC and Defendant

 collectively referred to as “the Parties”).

                                 INTRODUCTION

     1.         On September 13, 2023, EEOC commenced this action alleging that

 Kane’s engaged in a pattern or practice of discrimination against Alexis Cross

 and a class of female applicants by denying them employment to the positions

 of warehouse associate, delivery driver, and/or delivery assistant, based on

 their sex, in violation of Title VII of the Civil Rights Act of 1964 (Title VII).

     2.         The class of female applicants refers to women who applied to

 positions of warehouse associate, delivery driver and delivery assistant at any

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 of Kane’s eighteen retail locations and/or Kane’s distribution center, all

 located in Florida, between May 1, 2021, and May 13, 2024 (“the Class”).

      3.      The warehouse associate position refers to any associate positions

  within the warehouse department at Kane’s distribution center or retail

  locations, including but not limited to, positions in the following warehouse

  departments: Chair Factory, Customer Pick-Up, Shipping, Receiving, Parts,

  and Quality Assurance; as well as general warehouse clerk positions.

      4.      The agreement to enter into this Decree shall not be construed

  as an admission of liability by Defendant as to any allegations by the

  EEOC. Kane’s denies the allegations in this lawsuit.

      5.      In the interest of resolving this matter, and to avoid the cost of

  litigation, and as a result of having engaged in comprehensive settlement

  negotiations, the Parties have agreed that this action should be finally

  resolved by entry of this Decree. This Decree is final and binding on the

  Parties, and their respective successors and assigns.

      6.      No waiver, modification, or amendment of any provision of this

  Decree will be effective unless made in writing signed by an authorized

  representative of each of the Parties and authorized by the Court. With

  Court approval and mutual agreement of the Parties, this Decree may be

  amended or modified in the interests of justice and fairness to effectuate the

  provisions of this Decree.

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      7.      This Decree fully and finally resolves the claims asserted by

  the Commission in the Complaint filed in this action styled EEOC v.

  Kanes Furniture, LLC d/b/a Kane’s Furniture, Case No. 8:23-cv-02067-

  SDM-NHA (M.D. Fla.), and the underlying EEOC charge of

  discrimination, Charge No. 511-2022-00314.

      8.      This Decree constitutes the complete understanding between

  the Parties with respect to the matters herein.

      9.      If one or more provisions of this Decree are rendered unlawful or

  unenforceable, the Parties shall attempt to agree upon what amendments to

  this Decree, if any, are appropriate to effectuate the purposes of this Decree.

  In any event, the unaffected provisions will remain enforceable.

      10.     This Decree does not resolve any charges of discrimination that

  may be pending with the Commission against the Defendant. This Decree in

  no way affects the EEOC’s right to bring, process, investigate or litigate other

  charges that may be in existence or that may later be filed against the

  Defendant in accordance with standard EEOC procedures.

      11.     Nothing in this Decree shall be construed to limit or reduce

  Defendant’s obligations to comply with statutes enforced by the EEOC:

  Title VII, Title I of the Americans with Disabilities Act, 42 U.S.C. §12101,

  as amended, the Age Discrimination in Employment Act, 29 U.S.C. §§621-

  633a, the Equal Pay Act, 29 U.S.C. §206(d), the Genetic Information

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  Nondiscrimination Act of 2008, 42 U.S.C. § 2000f, and the Pregnant

  Workers Fairness Act, 42 U.S.C. §§ 2000gg.

                                   FINDINGS

    12.      Having carefully examined the terms and provisions of this

 Decree, and based on the pleadings, record, and stipulations of the Parties,

 the Court finds the following:

    13.      This Court has jurisdiction over the subject matter of this action

 and the Parties;

    14.      The Court will retain jurisdiction for the duration of this Decree;

    15.      No party shall contest the jurisdiction of this Court to enforce

 this Decree and its terms or the right of the Commission to bring an

 enforcement suit upon alleged breach of any term(s) of this Decree;

    16.      The terms of this Decree are adequate, fair, reasonable,

 equitable, and just. The rights of the class and the public interest are

 adequately protected by this Decree; and

    17.      The terms of this Decree are and shall be binding upon the

 Defendant and its successors and Defendant would be responsible for a

 violation of the Consent Decree by its present and future representatives,

 directors, officers and successors of Defendant.

 NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED
 AS FOLLOWS:


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                             DURATION OF DECREE

     18.       All provisions of this Decree shall be in effect (and the Court will

 retain jurisdiction of this matter to enforce this Decree) for a period of three (3)

 years after the Decree is entered by the Court (the “Effective Date”), provided,

 however, that if, at the end of the three (3) year period, any substantive

 disputes regarding compliance remain unresolved, the term of the Decree shall

 be automatically extended (and the Court will be authorized to retain

 jurisdiction of this matter to enforce the Decree) until such time as all such

 disputes have been resolved.

     19.       Any provision subject to an enforcement action shall survive

  expiration while the enforcement action is pending.

                     GENERAL INJUNCTIVE PROVISIONS

     20.       All of Defendant’s officers and employees are enjoined from

  considering sex in screening applicants, making employment decisions,

  and/or in implementing hiring procedures, in connection with warehouse

  associate, delivery driver, or delivery assistant positions. This includes

  relying on unfounded assumptions that women cannot perform actual job

  requirements of warehouse associate, delivery driver, or delivery assistant

  positions.




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                            JOB ADVERTISEMENTS

     21.      The language below shall be made part of job applications and

  will be placed in prominent positions on all web pages visited by people to

  complete an application, this includes but is not limited to Kane’s website,

  (www.kanesfurniture.com/pages/careers), Indeed.com, and

  ZipRecruiter.com.

          KANE’S IS AN EQUAL OPPORTUNITY EMPLOYER.
          QUALIFIED APPLICANTS WILL RECEIVE CONSIDERATION
          WITHOUT REGARD TO SEX (TITLE VII OF THE CIVIL
          RIGHTS ACT OF 1964 PROHIBITS DISCRIMINATION ON THE
          BASIS OF SEX), RACE, COLOR, RELIGION, AGE, GENDER
          IDENTITY, NATIONAL ORIGIN, SEXUAL ORIENTATION OR
          DISABILITY.    WE   ENCOURAGE      ALL   QUALIFIED
          APPLICANTS TO APPLY. IF YOU BELIEVE YOU HAVE BEEN
          DISCRIMINATED AGAINST, PLEASE CALL OUR HOTLINE AT
          ____. YOU ALSO HAVE THE RIGHT TO FILE A CHARGE OF
          DISCRIMINATION WITH THE EQUAL EMPLOYMENT
          OPPORTUNITY COMMISSION.

    22.       Job requirements stated on the application shall be reviewed

 and updated to match actual job requirements of the warehouse associate

 position, delivery driver and assistant delivery driver positions.

               MONETARY RELIEF TO CHARGING PARTY

    23.       Within thirty (30) days following the Court’s approval of this

 Decree (the “Effective Date”) and Cross’s signature on the release attached as

 Exhibit A, Defendant shall pay Ms. Cross the total sum of Seventy-Two

 Thousand Seven Hundred and Forty-Eight Dollars and Zero Cents


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 ($72,748.00), inclusive of ($32,748.00) of back pay and ($40,000.00) of

 compensatory damages.

    24.      Defendant will make all applicable withholdings from the back

 pay portions of this settlement (hereinafter referred to as “Back Pay

 Amount(s)” for federal, state, and local income taxes, and for employee Social

 Security taxes pursuant to the Federal Insurance Contribution Act (“FICA”).

 Defendant will be responsible for paying the employer’s share of any costs,

 taxes, or Social Security required by law to be paid. Defendant will issue W-2

 statements for the Back Pay Amounts and will issue withholding statements

 detailing all legal withholdings made at the time the checks are issued. Form

 1099s will be issued for any monies paid that do not constitute Back Pay

 Amounts. Defendant will send all checks and documents referenced in this

 paragraph to Alexis Cross via courier requiring signature to the following

 address: 1754 45th Street S., St. Petersburg, Florida 33711.

    25.       Copies of the payments shall be sent contemporaneously to the

 attention of EEOC Regional Attorney Kristen Foslid and Trial Attorneys

 Melissa Castillo and Sabarish Neelakanta, with subject line “Kane’s

 Consent Decree,” at mdoconsentdecreecompliance@eeoc.gov.

    26.       If the payments are not made in a timely manner as described

 above, then Defendant shall pay interest on the defaulted payments at a

 rate calculated pursuant to 26 U.S.C. §6621(b) until the same is paid, and

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 bear any additional costs incurred by the EEOC caused by the non-

 compliance or delay, including but not limited to any and all costs arising

 out of the EEOC’s efforts to enforce this decree in federal court.

              MONETARY RELIEF TO THE CLASS & CLAIMS
                        ADMINISTRATOR

    27.       “Eligible Class Members” are women who applied to Kane’s for

 positions of warehouse associate, delivery driver, and/or delivery assistant,

 between May 1, 2021 and May 31, 2024, but were not hired for these positions.

    28.       Within fifteen (15) days of the Effective Date, Defendant shall

 engage a claims administrator (“Claims Administrator”) approved by the EEOC,

 and the Claims Administrator will commence its duties in accordance with

 this Decree and instructions from the EEOC. EEOC will not unreasonably

 refuse approval of the Claims Administrator.

    29.       Within thirty (30) days of the Effective Date, Defendant shall

 pay One Million, Four Hundred and Ten Thousand Dollars and Zero Cents

 ($1,410,000.00) into an interest-bearing, qualified settlement fund under

 §486(b) of the Internal Revenue Code (the “Qualified Settlement Fund”)

 established by the Claims Administrator.

    30.       The purpose of the Qualified Settlement Fund is to provide

 payments for compensatory damages ($801,502.00) and backpay of

 ($608,498.00) to Eligible Class Members.


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    31.      The Claims Administrator shall provide the following services

 pursuant to this Decree, consistent with instructions from the EEOC:

                a. facilitate the creation of a Qualified Settlement Fund under

                   §468(b) of the Internal Revenue Code;

                b. manage the Qualified Settlement Fund;

                c. assist EEOC with identifying, locating, and corresponding

                   with Eligible Class Members via telephone, e-mail, and

                   other written communications;

                d. create a website dedicated to claims administration;

                e. send and receive notices, questionnaires and forms to

                   Eligible Class Members;

                f. create, track, and maintain data regarding Eligible Class

                   Members;

                g. transmit notifications to Eligible Class Members;

                h. transmit and review release forms;

                i. issue payment to Eligible Class Members from the Class

                   Settlement Fund;

                j. make periodic reports of activities to EEOC;

                k. confer with EEOC regarding administrative matters;

                l. issue and file related tax documents (including but not

                   limited to tax returns required to be filed by the Qualified

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                    Settlement Fund and W-2 forms for all payments from the

                    Qualified Settlement Fund); and

                 m. perform such other administrative tasks as it and EEOC

                    may deem necessary to facilitate the claims administration

                    process.

     32.      The Claims Administrator shall notify the EEOC once

  Defendant’s payment is complete.

     33.      The Claims Administrator will provide Defendant with all

  information required by Defendant for tax purposes in a timely manner.

  The Claims Administrator shall be responsible for issuing appropriate tax

  forms to the Eligible Class Members as applicable.

     34.      All costs and expenses relating to the claims administration

  process shall be paid by Defendant separate and apart from the Qualified

  Settlement Fund. The Claims Administrator shall bill Defendant on an as-

  incurred and monthly basis.

     35.      If Defendant fails to tender the payment described in paragraph

  24, then Defendant shall pay interest on the defaulted payments at a rate

  calculated pursuant to 26 U.S.C. §6621(b) until the same is paid, and bear

  any additional costs incurred by the EEOC caused by the non-compliance or

  delay, including but not limited to any and all costs arising out of the

  EEOC’s efforts to enforce this decree in federal court.

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                         CLAIMS ADMINISTRATION

     36.      Identification of Eligible Class Members. Within ninety (90)

 days of the Effective Date, EEOC shall transmit to the Claims

 Administrator a list containing, if available, the full names, last known

 addresses, telephone numbers, and email addresses for all Eligible Class

 Members. EEOC has the sole discretion and exclusive right to identify

 Eligible Class Members, and this identification cannot be challenged by

 Kane’s.

     37.      Kane’s will, at EEOC’s request, provide any reasonably accessible

  information needed to identify Eligible Class Members, to the extent such

  information has not already been provided to EEOC.

     38.      Initial Package. EEOC will direct the Claims Administrator to,

 within a reasonable amount of time as determined by EEOC, distribute a

 notice from EEOC containing a notice of the settlement, an explanation of the

 eligibility determination process, the website dedicated to the claims

 administration process and a questionnaire (“Initial Package”), and a

 deadline of 45 days for submission of all claims, to all known Eligible Class

 Members.

     39.      The Initial Package shall be distributed by mail and e-mail.

 EEOC will determine what additional steps are to be taken to reach Eligible

 Class Members and notify the Claims Administrator of the same.

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     40.       The Initial Package will instruct Eligible Class Members to

  submit a completed Questionnaire. Submission of a completed Questionnaire

  is the method by which an Eligible Class Member submits her claim.

     41.       Review of Claims Submitted. In response to the Initial Package,

 the Eligible Class Members will be requested to submit a completed

 Questionnaire to the Claims Administrator within the deadline provided in

 the Initial Package.

     42.       The Claims Administrator will review all Questionnaires to

  verify that Eligible Class Members meet criteria to receive a monetary

  award. The criteria to receive a monetary award shall include, but is not

  limited to, the following: (1) confirmation that the individual is in the

  protected class (female); (2) confirmation that the individual applied to

  Kane’s for position of warehouse associate, delivery driver, and/or delivery

  assistant between May 1, 2021 and May 31, 2024; (3) confirmation that the

  individual was not hired by Kane’s into one of the relevant positions; and (4)

  confirmation of the individual’s application process. Kane’s cannot challenge

  any such determination.

     43.       Claims may also be made on behalf of deceased Eligible Class

  Members through representatives of their estate or next of kin if documentation

  is provided demonstrating heirship or estate. Such documentation may include

  a letter from the estate administrator, a death certificate of the Eligible Class

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 Member, a document showing relationship between Eligible Class Member and

 next of kin, and/or a sworn affidavit. The EEOC will have the final authority to

 determine the validity of claims filed on behalf of deceased Eligible Class

 Members.

     44.       Eligible Class Members who seek to recover monetary

  compensation must complete and submit the Questionnaire within the

  EEOC-established deadline provided in the Initial Package. The time may

  be extended by the EEOC for good cause shown. Any person whose

  Questionnaire is not timely completed and submitted within the EEOC-

  established deadline shall be barred from receiving any relief under this

  Decree or in connection with this action.

     45.       All Eligible Class Members who receive monetary relief pursuant

  to this Decree shall be required, as a condition of receipt, to execute the

  release attached as Exhibit A.

     46.       Final Verification of Eligible Class Members. The Claims

 Administrator shall review Questionnaires timely submitted by Eligible

 Class Members and notify the EEOC of the Eligible Class Members that it

 verified meet the criteria set herein in paragraph 42. Only “Verified Eligible

 Class Members” may receive a monetary award. Eligible Class Members do

 not have standing to object to their verification determination.



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     47.     Monetary Award Determination. EEOC shall make the final

 determination as to the amount of the monetary award for each Verified

 Eligible Class Member. The EEOC shall be the sole determiner of the

 amount of monetary relief to be received by any Verified Eligible Class

 Member under this Decree. Kane’s will not participate in or object to

 EEOC’s determinations. Verified Class Members have the right to object to

 the amount of their monetary awards within the timeframe designated by

 EEOC.

     49.     Notice of Monetary Award. After the EEOC advises the Claims

 Administrator of monetary awards for each Verified Eligible Class Member,

 the Claims Administrator will notify all Eligible Class Member (including

 Eligible Class Members that are not receiving a monetary award) in writing

 of the following: (1) amount her monetary award, if any; (2) the anticipated

 date on which EEOC plans to seek Approval of Allocation of Settlement

 Funds; (3) instructions on how Verified Eligible Class Members can submit

 objections to the Notice of Monetary Award which the EEOC will submit to

 the Court as part of its motion seeking Approval of Allocation of Settlement

 Funds; (4) the deadline for Verified Eligible Class Members to submit

 objections; and (5) for Notices of Monetary Awards to Verified Eligible Class

 Member, these notices will include: a Release of Claims (attached hereto as

 Exhibit A), state the requirement and instructions for submitting a signed

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 Release of Claims, the deadline to submit a signed Release of Claims, and

 notice that failure to timely submit a signed Release of Claims shall make the

 Verified Eligible Class Member not eligible to receive a monetary award and

 forever bar her from receiving any relief under this Decree. The Notice of

 Monetary Award may indicate that the award is subject to review or

 modification only by the Court.

     50.     Release of Claims. The Claims Administrator shall provide all

 original signed releases to Kane’s and maintain copies for the EEOC. Prior to

 providing signed original releases to Kane’s, and prior to sending any

 monetary awards, the Claims Administrator shall review all releases to ensure

 they are properly executed. In the event that a Release has not been properly

 executed and proper execution appears possible as determined by EEOC, the

 Claims Administrator shall contact the Verified Eligible Class Member and

 attempt to procure a properly executed release. The original signed releases

 shall be sent to the attention of: Sabarish Neelakanta, at the following

 address: U.S. E.E.O.C., Miami District Office, 100 S.E. 2nd Street, Suite 1500,

 Miami, FL 33131.

     51.     Motion for Approval of Allocation of Settlement Funds. Upon

 Monetary Award Determination, after the deadline for Verified Eligible

 Class Members to submit objections to the Notice of Monetary Award, and

 after the deadline for Verified Eligible Class Members to submit signed

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 Releases of Claims, EEOC shall file a motion with the District Court seeking

 approval of the allocation of the Settlement Fund among those Verified

 Eligible Class Members who have executed and timely returned the Releases

 of Claims.

     52.      The Motion for Approval of Allocation of Settlement Funds

 shall include (1) a proposed distribution list containing the initials and

 proposed settlement amount for each Verified Eligible Class Member; (2) a

 copy of any timely objections; and (3) a copy of any untimely objections, if

 any.

     53.      Award Distributions. After the Court’s ruling on the EEOC’s

 Motion for Approval of Allocation of Settlement Funds, the Claims

 Administrator shall issue and mail any check(s) consistent with the Court’s

 ruling.

     54.      Distribution of Any Residual Amount in the Class Settlement

 Fund. In the event that checks are returned and/or the Settlement Fund is not

 completely distributed for any reason, EEOC shall direct the Claims

 Administrator to allocate the remaining funds as back pay to Verified Eligible

 Class Members on a pro rata basis. No funds shall revert back to Defendant.

              TAX TREATMENT OF SETTLEMENT AMOUNT

     55.      The EEOC’s reporting requirements under IRC Sections 162(f)

 and 6050X. The EEOC may be required to report the fact of this settlement to

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 the IRS under Section 162(f) and 6050X of the Internal Revenue Code which

 allow for certain payments by employers to be deducted from the employer’s

 taxes. If the EEOC is required to do so, the EEOC will provide the employer

 with a copy of the 1098-F form that it will provide to the Internal Revenue

 Service (IRS).

     56.      Defendant’s EIN number is: XX-XXXXXXX.

     57.      The individual(s) to whom the EEOC should mail a copy of the form

 1098-F, if the EEOC is required to issue one is/are: Irwin Novak, 5700 70th Ave

  North, Pinellas Park, 33781.

     58.      No Representations or Reliance. The EEOC has made no

 representations regarding whether the amount paid pursuant to this

 settlement qualifies for the deduction under the Internal Revenue Code. The

 provision of the Form 1098-F by the EEOC does not mean that the

 requirements to claim a deduction under the Internal Revenue Code have

 been met. Any decision about a deduction pursuant to the Internal Revenue

 Code will be made solely by the IRS with no input from the EEOC. The

 parties are not acting in reliance on any representations made by the EEOC

 regarding whether the amounts paid pursuant to this Decree qualify for a

 deduction under the Internal Revenue Code.




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           JOB VACANCY NOTIFICATION TO CLASS MEMBERS

     59.      The Claims Administrator shall notify each Eligible Class

 Member that she can apply online for any vacancies at Kane’s and that she

 will be considered along with any other applicants and will not be subjected

 to either sex discrimination or retaliation for having participated in this

 lawsuit as a class member.

               INDEPENDENT SUBJECT MATTER EXPERT

     60.      Within thirty (30) calendar days of the Effective Date, Kane’s

 shall retain a board-certified labor and employment lawyer that has no prior

 relationship to Defendant or certified HR Professional with at least fifteen (15)

 years of experience who is an Independent Subject Matter Expert and notify

 the EEOC of its selection. EEOC shall have authority to approve or

 disapprove, which will not be unreasonably withheld, of the Independent

 Subject Matter Expert. Kane’s agrees to pay all costs and fees relating to the

 Independent Subject Matter Expert.

     61.      Among other responsibilities, the Independent Subject Matter

 Expert shall, at a minimum, provide the following services under this Decree:

                 a. Provide Training to employees, managers, executives

                    and human resources personnel;




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                  b. Ensure that an hotline has been established as described

                     in   paragraphs    64-67   to   receive     reports   of   sex

                     discrimination;

                  c. Consult with Kane’s regarding any and all complaints

                     and/or investigations of sex discrimination and

                     proposed responses/resolutions;

     62.       The Independent Subject Matter Expert shall also review Kane’s

  hiring data and provide a written report to EEOC and to Kane’s on April 15

  and October 15 during each year of the Decree making recommendations as

  to steps Kane’s should take to increase its hiring of women in the positions of

  warehouse associate, delivery driver, and/or delivery assistant. Kane’s shall

  work with the Independent Subject Matter Expert to identify any current or

  potential issues with regard to their hiring practice and to implement any

  recommendations to correct made by the Independent Subject Matter Expert.

     63.       The Independent Expert may communicate directly with the

  EEOC.

                                    HOTLINE

     64.       Kane’s shall contract with a third-party vendor to establish a

  hotline to be used by applicants and/or employees to report allegations of sex

  or any form of discrimination.



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     66.      Kane’s shall contract with the third-party vendor and establish

 the hotline no later than 90 days from the Effective Date.

     67.      Kane’s shall distribute the hotline phone number to all personnel

  and will be posted in Kane’s employee intranet and in a physical conspicuous

  location easily accessible to and commonly frequented by Kane’s employees.

                      ANTI-DISCRIMINATION POLICY

     68.       Kane’s must create, maintain, distribute and implement a

 written anti-discrimination policy (the “Policy”) consistent with this Decree.

     69.       The Policy shall apply to all Kane’s locations, applicants and

  employees in Florida.

     70.   The Policy shall define “prohibited conduct” and explicitly prohibit

  sex-based discrimination; state that sex-based discrimination will not be

  tolerated from its officers, executives, managers, employees or customers;

  explicitly prohibit making employment decisions based on unfounded

  assumptions about the work people are or are not capable of doing based on

  the person’s sex; explicitly prohibit screening applications for employment

  based on unfounded assumptions about the work people are or are not

  capable of doing based on the person’s sex; explicitly prohibit making

  decisions during hiring process based on unfounded assumptions about the

  work people are or are not capable of doing based on the person’s sex or the

  types of jobs people are or are not supposed to do based on the person’s sex.

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     71.       Reporting Sex Discrimination. The Policy shall include a written

 procedure for reporting sex discrimination, investigating reports or incidents

 of sex discrimination, and responding to and resolving reports or incidents of

 sex discrimination.

     72.       The procedure for reporting sex discrimination shall, at minimum,

  provide the telephone and email address of the individual(s) who employees

  and/or applicants should contact to report sex discrimination, including the

  contact information for the Hotline.

     73.       The procedure for reporting sex discrimination shall state that

  Kane’s affirmatively prohibits any and all retaliation against employees for

  making complaints of violations of Title VII in the workplace and/or

  participating in the investigation into violations, regardless of the outcome of

  the employees’ complaints; and that any Kane’s employee found to be

  engaging in retaliatory acts in violation of the Policy shall be subject to

  discipline, up to and including termination.

     74.       The procedure for reporting sex discrimination shall state that

  the individual is not required to report discrimination to the alleged

  discriminating official(s).

     75.       Investigating Sex Discrimination. The written procedure for

 investigating reports or incidents of sex discrimination shall set forth, at

 minimum, that Kane’s will maintain confidentiality of the report and

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 investigation to the extent possible; conduct interviews of the alleged

 discriminating official(s), witnesses, and the individual who reported the

 incident; document and maintain any written statements concerning the

 alleged incidents of sex discrimination; review evidence (such as documents,

 emails, text messages); consult with the Independent Subject Matter Expert

 regarding the alleged discrimination and proposed response and resolution;

 and maintain a written record of the response and resolution of the report or

 incident of alleged sex discrimination in a centralized database, including

 investigation notes, statements, and other records, and written record of any

 coaching or disciplinary action taken.

     76.      Responding to & Resolving Sex Discrimination Complaints. The

 written procedure for responding to and resolving reports or incidents of sex

 discrimination shall set forth that, at minimum, Kane’s will communicate to

 the reporting individual when the investigation has completed, that the

 matter is resolved, including any findings made or how it was resolved, state

 Kane’s policy against retaliation; and state that Kane’s is committed to not

 discriminating on the basis of sex and will discipline employees in violation of

 this Policy, up to and including termination.

     77.      The Policy shall require managers to promptly escalate all verbal

  and written complaints of sex discrimination or incidents of sex

  discrimination they witness to the Vice President of Human Resources (Chief

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 People Officer), Human Resources Business Partner (People Operations), or

 to the Hotline. Kane’s shall notify managers that a failure to promptly

 escalate such complaints may result in discipline up to and including

 termination.

        78.     Distribution of the Policy. Within twenty (20) calendar days of

 the Policy’s adoption, Kane’s shall: Distribute copies of the Policy to each of

 Kane’s employees; Distribute a copy of the Policy to each job applicant within

 ten (10) days of the offer of employment; Keep and maintain the Policy in a

 conspicuous and accessible place for all employees.

                    INTERVIEW AND HIRING PROCESSES

        79.     Within one hundred and eighty (180) days the Effective Date,

  Kane’s will review, analyze, and update its Interview and Hiring process

  to:

                   a. Enhance the hiring process through consistent use

                      and completion of the Interview Checklist;

                   b. ;

                   c. Standardize the interview process to encourage the use

                      of objective criteria at interviews;

                   d. Eliminate interview questions or conversations that are

                      aimed towards discouraging female applicants from



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                   continuing in the interview process for warehouse,

                   delivery driver or delivery assistant positions;

                e. Eliminate interview questions or conversations that are

                   aimed towards steering male or female candidates into

                   particular jobs and/or jobs to which they did not apply

                   based on the candidate’s sex;

                f. Provide guidance to hiring managers as to when and how to

                   ask about an applicant’s ability to perform the physical

                   functions of the job. For example, as part of the

                   standardized process hiring managers may walk candidates

                   through the warehouse to observe working conditions and

                   job duties, ask candidates if they can do the job they are

                   observing and/or if they can work in the warehouse

                   environment, ask candidates if they have any experience

                   performing similar jobs or activities in similar environment.

                   Hiring managers should explain to applicants that, to the

                   extent possible, Kane’s uses manual and electric moving

                   and lifting equipment to assist with heavy items, and that

                   additional associates may be called to assist as needed.

                g. Utilize the Interview Checklist to identify an objective

                   reason for not selecting a candidate for hire.

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                                    TRAINING

     80.      Training Sessions shall be conducted by the Independent

  Subject Matter Expert.

     81.      The Independent Subject Matter Expert shall utilize written

  handouts at Training Sessions to aid in presenting the material.

     82.      The Independent Subject Matter Expert shall distribute an

  attendance log that all participants must sign at the start and end of

  Training Session to confirm attendance throughout the Training Session.

     83.      At least three business days before a Training Session, the

  Independent Subject Matter Expert shall provide to the EEOC a copy of the

  written handouts he or she intends to use at the Training Session.

     84.      Within two weeks after the Training Session, the Independent

  Subject Matter Expert shall provide to the EEOC the attendance log signed

  by Training Session attendees.

              Training: Human Resources Officials, Managers,
                          Executives & Officers.

     85.      Human Resources Officials shall include, at a minimum, Human

  Resources Business Partner (People Operations), Human Resources

  Generalist, Human Resources Coordinator, and First Impressions

  Ambassador, and any other equivalent positions.




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     86.      Managers shall include, at minimum, Distribution Center

  Directors, Delivery Managers, Quality Assurance Managers, Parts Managers,

  Chair Factory Managers, Shipping/Receiving Managers, RTV managers,

  Retail Store Managers, Customer Pick-Up Managers, Customer Service

  Managers, Customer Care Managers, Retail General Managers, Retail

  Assistant Managers, and any other equivalent positions.

    87.       Executives and Officers shall include, at minimum, President

 and/or Chief Executive Officer, Chief Operating Officer, Vice President of

 Operations, and Vice President of Human Resources (Chief People Officer),

 and any other equivalent positions.

     88.      To the extent not already covered by paragraphs 85-87 any

 individual involved in the hiring process for Kane’s, such as recruiters or

 anyone doing interviews or reviewing or screening resumes, must attend

 the Training Sessions for Human Resources Officials, Managers, and

 Executives and Officers.

    89.       If at any time during this Decree there is a change in Human

 Resources Officials, Managers, Executives and Officers listed in paragraphs

 85-87 above, the Training Sessions shall be attended by the individual(s)

 placed into the respective positions or who act in similar roles as individuals

 identified in these paragraphs.



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     90.       All newly hired Human Resources Officials, Managers,

  Executives and Officers listed in paragraphs 85-87 above shall attend a

  Training Session within sixty days of their hire date.

     91.       Human Resources Officials, Managers, Executives and

  Officers shall attend Training Sessions live, in-person, once each calendar

  year for the duration of the Decree, for a total of three (3) Training

  Sessions. The first Training Session shall be ninety (90) minutes in length

  and each Training Session thereafter shall be one hour in length.

     92.       The first Training Session shall be within ninety (90) days of

  the Effective Date.

     93.       The Training Sessions for Human Resources Officials,

  Managers, Executives and Officers shall cover the following:

                  a. Explanation of Title VII prohibition of sex discrimination

                     and specifically its prohibition against gender stereotypes

                     in making employment decisions;

                  b. Training on the substance and application of Kane’s

                     antidiscrimination Policy;

                  c. Training on how to use and complete the Interview

                     Checklist;

                  d. Training on using hiring tools (such as HireBridge

                     and/or other applicant tracking tools);

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                e. Training on how to use objective criteria during interviews;

                f. Training on best practices of when and how to ask about

                   an applicant’s ability to perform the physical functions of

                   the job; and

                g. Examples of questions that may discourage female

                   applicants from applying for certain positions and should,

                   therefore, be avoided.

                 h. Training on identifying instances of sex discrimination

                    and best practices for responding to such incidents.

                 i. Training on a managers responsibility to escalate reports

                    or incidents of sex discrimination to the Vice President of

                    Human Resources (Chief People Officer), Human

                    Resources Business Partner (People Operations), the

                    Hotline, and/or the Independent Subject Matter Expert.

                 j. Training on best practices for handling, investigating,

                    responding to reports or incidents of sex discrimination,

                    including investigating, maintaining proper

                    documentation, coaching or discipline. This training shall

                    focus but not be limited to best practices related to the

                    hiring process.

                 k. Training on Kane’s non-retaliation policy.

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           CENTRALIZED DATABASE & DOCUMENT RETENTION

    100.        Within seven (7) days of the Effective Date and throughout

  the duration of this Decree, Kane’s will maintain the following documents

  in a centralized location or database:

                  a. Any and all applications, resumes, cover letters, interview

                     checklists, interview notes, pre-screening results,

                     assessments, and all other documents relating to

                     recruitment, interviewing, and hiring for warehouse

                     associate, delivery driver and delivery assistant;

                  b. Any and all data, reports, or documents created or

                     compiled in accordance with this Decree;

                  c. All complaints or reports of sex discrimination, all related

                     investigation documents, documents showing the response

                     to the complaint or report, including coaching or discipline

                     done in response to complaint or report;

                  d. All training materials and lists of attendees required by

                     this Decree.

    101.        The Independent Subject Matter Expert may review

  Kane’s document retention practices under this section to ensure

  compliance.



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    102.       The Independent Subject Matter Expert will report any non-

 compliance to Kane’s and allow fifteen (15) days to cure. Should non-

 compliance continue, the Independent Subject Matter Expert shall report

 non-compliance to the EEOC.

                                        NOTICE

     103.       Within ten (10) days after the Effective Date, Defendant shall

  post a laminated copy of the Notice attached as Exhibit 2 in all of their Florida

  locations. The Notices shall each be posted in a conspicuous location easily

  accessible to and commonly frequented by Kane’s employees. The Notice shall

  remain posted for the duration of the Decree, and Kane’s shall take reasonable

  steps to ensure that the posting is not altered, defaced, or covered by any other

  material. Defendant shall certify to the EEOC in writing within fifteen (15)

  business days after entry of this Decree that the Notices have been properly

  posted.

     104.       Kane’s will distribute this Consent Decree to all company

  owners, executives, officers, human resources officials, and management

  employees.

                                    REPORTING

     105.       On March 15 and September 15, annually, Kane’s, together

  with the Independent Subject Matter Expert, shall provide the EEOC with

  written reports that shall contain:

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                 a. A certification that Kane’s has completed all

                    trainings required by the Decree; A certification

                    that the Notices remained posted for the entire

                    period as required by the Decree;

                 b. A certification that Job Advertisements meet

                    requirements of this Decree;

                 c. A certification that any complaints or reports of sex

                    discrimination were handled in accordance with

                    the Policy and this Decree, and/or that there were

                    no complaints of any such discrimination.

                 d. If there are reports or incidents of alleged sex

                    discrimination in recruiting or hiring, Kane’s shall

                    provide the EEOC with documents in the

                    Centralized Database pertaining to the complaint or

                    report and the application materials.

                 e. A certification that Kane’s has filed its annual

                    EEO-1 Component 1 reports.

                 f. A roster of employees hired into positions of

                    warehouse associate, delivery driver and delivery

                    assistance for the relevant reporting period. For

                    each employee Kane’s shall provide: their name,

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                      date of hire, position to which individual applied,

                      position into which individual was hired, sex of

                      individual.

            ANNUAL FILING OF EEO-1 COMPONENT 1 REPORTS

    106.       Kane’s will timely file annual EEO-1 Component 1 Reports

  containing workforce demographic data, including data by job category and

  sex and ethnicity, to the EEOC as required under Section 709(c) of Title VII.

                             DISPUTE RESOLUTION

     107.      In the event that a party to this Decree believes that the other

  party has failed to comply with any provision of this Decree, the complaining

  party shall notify the other party in writing of the alleged non-compliance

  within fifteen (15) business days of the discovery of the alleged non-

  compliance and shall afford the alleged non-complying party fifteen (15)

  business days to remedy the alleged non-compliance or to satisfy the

  complaining party that the alleged noncomplying party has complied. Kane’s

  point of contact for any concerns of non-compliance is Ford Harrison c/o Todd

  Aidman, 401 East Jackson Street, Suite 2500, Tampa, Florida 33602.

    108.       If the alleged non-complying party has not remedied the

  alleged non-compliance or satisfied the complaining party that it has

  complied within fifteen (15) business days, the complaining party may

  apply to the Court for relief.

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                       NOTIFICATION TO SUCCESSORS

    109.       During the duration of the Consent Decree, Kane’s shall provide

  prior written notice to any successor of the EEOC’s lawsuit, allegations

  raised in the EEOC’s complaint, and the existence and contents of this

  Decree.

                    CONTACT FOR REPORTING TO EEOC

    110.       All reports, notices and other documents required hereunder to

  be delivered to the EEOC shall be sent to Regional Attorney Kristen Foslid,

  Re: Kane’s Consent Decree, Equal Employment Opportunity Commission,

  Miami Tower, 100 S.E. 2nd Street, Suite 1500, Miami, Florida 33131 and

  mdoconsentdecreecompliance@eeoc.gov.

                                       COSTS

    111.       Each party to this Decree shall bear its own expenses,

  attorney fees, and costs associated with this litigation and the Consent

  Decree.

                 NO CONDITIONS ON RECEIPT OF RELIEF

    112.       Defendant will not condition receipt of individual relief to Ms.

  Cross or any Eligible Class Member on an agreement to: (a) maintain as

  confidential the terms of this Consent Decree or the facts of the case; (b)

  waive their statutory right to file any future charge with any federal or state

  antidiscrimination agency that is unrelated to this litigation; or (c) promise

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